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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


    CARROLL INDEPENDENT SCHOOL                   §
    DISTRICT,                                    §
                                                 §
          Plaintiff,                             §
                                                 §
    v.                                           §    Civil Action No. 4:24-cv-00461-O
                                                 §
    UNITED STATES DEPARTMENT OF                  §
    EDUCATION, et al.,                           §
                                                 §
          Defendants.                            §


                                              ORDER

         Before the Court are Plaintiff Carroll Independent School District’s (“Carroll ISD”) Motion

for Summary Judgment, Brief and Appendix in Support (ECF Nos. 58–60), filed August 16, 2024.

Also before the Court are Defendants Miguel Cardona, Kristen Clarke, Merrick B Garland,

Catherine E. Hamon, United States Department of Education, and United States Department of

Justice’s (collectively, “Defendants”) Response to Plaintiff’s Motion for Summary Judgment and

Cross-Motion to Dismiss or, in the Alternative, for Summary Judgment (“Cross-Motion”); Brief

and Appendices in Support (ECF Nos. 64–76), filed September 6, 2024. The Motions are fully

briefed and ripe for review.

         As the Court noted in its previous Order granting a preliminary injunction, the Final Rule

undermines the purpose of Title IX, endangers students, and has “[n]o basis in reality.”1

Additionally, the Final Rule and its corresponding regulations violate the Constitution and are the




1
    Mem. Op. & Order 1, ECF No. 43.

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result of arbitrary and capricious agency action. Consequently, the Court GRANTS Carroll ISD’s

Motion (ECF No. 58) and DENIES Defendants’ Cross-Motion (ECF No. 64).

    I. BACKGROUND

       This case concerns the Department of Education’s promulgation of a Final Rule that

interprets Title IX of the Education Amendments of 1927 (“Title IX”), 20 U.S.C. § 1681 et seq.,

as prohibiting discrimination based on sexual orientation and gender identity.2 The regulatory

landscape surrounding the Final Rule is well-known and does not require further mention here.3

       Carroll ISD initiated this lawsuit requesting the Court hold the Final Rule unlawful, set it

aside under the Administrative Procedure Act (“APA”), 5 U.S.C. § 706, and enjoin Defendants

from enforcing it against Carroll ISD.4 On July 11, 2024, the Court granted a preliminary

injunction to Carroll ISD, blocking the Final Rule’s enforcement as to Carroll ISD, while deferring

ruling on Carroll ISD’s request for a stay of the Final Rule’s effective date under 5 U.S.C. § 705.5

After ordering additional briefing, the Court denied Carroll ISD’s request for a stay because

complete relief had already been awarded through a preliminary injunction based on the existing

record.6

       Now, the Court considers whether to vacate the Final Rule in light of the parties’ briefing

on summary judgment. On February 17, 2025, the parties filed a Joint Status Report representing




2
  Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal Financial
Assistance, 34 C.F.R. § 106 (2024) (the “Final Rule”).
3
  See Texas v. United States, 740 F. Supp. 3d 537, 542–44 (N.D. Tex. 2024) (Kacsmaryk, J.); Texas v.
Cardona, 743 F. Supp. 3d 824, 835–41 (N.D. Tex. 2024) (O’Connor, J.); Louisiana v. U.S. Dep’t of Educ.,
737 F. Supp. 3d 377, 386–92 (W.D. La. 2024) (Doughty, J.).
4
  Compl. 2, ECF No. 1.
5
  Mem. Op. & Order 14–15, ECF No. 43.
6
  Order 2, ECF No. 55.

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that the case remains live and is not moot based on any change in policy from the new

administration.7

    II.       THRESHOLD ISSUE

           As an initial matter, Defendants reassert their prior argument that this Court should dismiss

Carroll ISD’s claims based on claim splitting.8 Defendants argue that Texas already challenged

the Final Rule in Texas v. United States and that Carroll ISD’s interests are adequately represented

by Texas in that suit.9 2:24-cv-00086-Z (N.D. Tex. Apr. 29, 2024).

           The Court notes that although Defendants do not challenge Carroll ISD’s standing in this

case, they did challenge Texas’s standing in Texas v. United States.10 740 F. Supp. 3d 537 (N.D.

Tex. 2024). The court there rejected that argument and held that Texas had standing, but

Defendants will presumably continue to assert lack of standing on appeal. Id. at 552–54.

           Defendants thus ask the Court to have it both ways. On one hand, they ask the Court to

dismiss Carroll ISD’s claims because Texas adequately represents its interests. On the other, they

assert that Texas does not have standing to challenge the Final Rule. If the Court were to place

Carroll ISD—who undisputably has standing—at the mercy of that proceeding, Carroll ISD may

very well be left with its hat in hand, forced to comply with a Final Rule that violates not only the

APA but also the First Amendment. This is an unacceptable result. Accordingly, the Court declines

to exercise its discretion to dismiss this case based upon claim splitting.

    III.      LEGAL STANDARD

           In a case challenging agency action under the APA, summary judgment “serves as the


7
  Joint Status Report, ECF No. 85.
8
  Mem. in Supp. of Defs.’ Resp. to Pl.’s Mot. for Summ. J. & Cross-Mot. to Dismiss, or, in the Alternative,
for Summ. J. (“Defs.’ Br.”) 9–11, ECF No. 65.
9
  Id.
10
   See Br. in Supp. of Defs.’ Resp. to Pls.’ Mot. for Stay of Agency Action & Prelim. Inj. 32–35, ECF
No. 41, Texas, et al. v. United States, et al., No. 2:24-cv-86-Z (N.D. Tex. June 14, 2024) (Kacsmaryk, J.).

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mechanism for deciding” whether the action “is supported by the administrative record and

otherwise consistent with the APA standard of review.” Gadhave v. Thompson, No. 3:21-CV-

2938-D, 2023 WL 6931334, at *1 (N.D. Tex. Oct. 19, 2023) (quoting Stuttering Found. of Am. v.

Springer, 498 F. Supp. 2d 203, 207 (D.D.C. 2007)). “The general ‘genuine dispute of material

fact’ standard for summary judgment does not apply to claims under the [APA], 5 U.S.C. §§ 701-

706.” Id. Instead, the agency resolves “factual issues to arrive at a decision that is supported by the

administrative record,” and the district court sits as an appellate tribunal, applying the APA

standards of review to determine “whether or not as a matter of law the evidence in the

administrative record permitted the agency to make the decision it did.” MRC Energy Co. v. U.S.

Citizenship & Immigr. Servs., 2021 WL 1209188, at *3 (N.D. Tex. Mar. 31, 2021) (citation

omitted).

     IV.      ANALYSIS

           Carroll ISD moves for summary judgment on the basis that: (1) the Final Rule is contrary

to law, arbitrary, and capricious; and (2) the Final Rule violates the First Amendment.11 In their

Cross-Motion, Defendants rely heavily on Bostock v. Clayton County to assert that that Final Rule

is consistent with Title IX and does not violate the First Amendment.12 590 U.S. 644 (2020). For

the reasons given below, the Court concludes that the Final Rule violates the APA and the First

Amendment. Consequently, the Court GRANTS Carroll ISD’s Motion (ECF No. 58) and

DENIES Defendants’ Cross-Motion (ECF No. 64).13


11
   Pl. Carroll ISD’s Mem. in Supp. of Mot. for Summ. J. (“Pl.’s Br.”) 7–32, ECF No. 59.
12
   Defs.’ Br. 12–34, ECF No. 65.
13
   The Court notes that Carroll ISD raises additional constitutional challenges to the Final Rule. Pl.’s Br.
19, ECF No. 59. The Supreme Court has encouraged lower courts to avoid expending “scarce judicial
resources to resolve difficult and novel questions of constitutional or statutory interpretation that will have
no effect on the outcome of the case.” Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011) (quotation marks and
citation omitted). Thus, because the Court concludes that the Final Rule violates the APA and the First
Amendment, it will not address those additional grounds here.

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        A. The Final Rule is contrary to law, arbitrary, and capricious.

        Defendants’ argument that the language of the Final Rule is consistent with Title IX and is

not arbitrary and capricious has been addressed and soundly rejected by multiple courts, including

this one.14 The Court fully incorporates the reasoning in its prior Order granting a preliminary

injunction and agrees with the other district courts.

        To briefly summarize those opinions, expanding the meaning of “on the basis of sex” to

include “gender identity” turns Title IX on its head, and the Final Rule’s new de-minimis harm

standard is arbitrary in the truest sense of the word. Defendants’ heavy reliance on Bostock is

misplaced. There are meaningful and fundamental differences between Title VII and Title IX.

“Title VII prohibits discrimination in the workplace generally,” whereas “the entire point of Title

IX is to prevent discrimination based on sex.” Tennessee v. Cardona, No. CV 2:24-072-DCR,

2025 WL 63795, at *3 (E.D. Ky. Jan. 9, 2025), as amended (Jan. 10, 2025) (emphasis in original).




14
   See Mem. Op. & Order 4–11, ECF No. 43 (granting a preliminary injunction in this case); Texas v.
Cardona, 743 F. Supp. 3d 824, 869–78 (N.D. Tex. 2024) (O’Connor, J.) (granting summary judgment on
guidance documents containing similar language); Tennessee v. Cardona, No. CV 2:24-072-DCR, 2025
WL 63795, at *5–7 (E.D. Ky. Jan. 9, 2025), as amended (Jan. 10, 2025) (Reeves, J.) (granting summary
judgment and vacating the Final Rule because, among other reasons, it is arbitrary and capricious); Texas
v. United States, 740 F. Supp. 3d 537, 554–57 (N.D. Tex. 2024) (Kacsmaryk, J.) (granting a preliminary
injunction because, among other reasons, the Final Rule is arbitrary and capricious); Louisiana v. U.S. Dep’t
of Educ., 737 F. Supp. 3d 377 405–08 (W.D. La. 2024) (Doughty, J.) (same); Kansas v. United States Dep't
of Educ., 739 F. Supp. 3d 902, 928–31 (D. Kan. 2024) (Broomes, J.) (same); Arkansas v. United States
Dep’t of Educ., 742 F. Supp. 3d 919, 940–45 (E.D. Mo. 2024) (Sippel, J.) (granting a preliminary injunction
because the Final Rule is contrary to law).

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Because the distinction between male and female is at the heart of Title IX, “throwing gender

identity into the mix eviscerates the statute and renders it largely meaningless.” Id.

        Indeed, Defendants cannot offer any rational explanations for the stark inconsistencies that

will result if the Final Rule is made the law of the land.15 For the foregoing reasons, the Final Rule

is contrary to law, arbitrary, and capricious. Therefore, it violates the APA.

        B. The Final Rule violates the First Amendment.

        Turning now to Carroll ISD’s assertion that the Final Rule violates the First Amendment,16

the Court agrees. Multiple courts have already held that the Final Rule does, or likely does, violate

the First Amendment. See Tennessee, 2025 WL 63795 at *4; Texas v. United States, 740 F. Supp.

3d at 550–51; Louisiana, 737 F. Supp. 3d at 400–01; Kansas, 739 F. Supp. 3d at 926–28; Arkansas,

742 F. Supp. 3d at 945. The Court agrees with these decisions.

        In short, under the Final Rule’s broader standard for hostile environment claims, repeated

failure to use gender-identity-based pronouns could constitute sex-based harassment.17 Although

Defendants insist that this is not necessarily the case,18 the Final Rule obviously compels this result

by defining harassment as conduct that is “subjectively and objectively offensive and is so severe

or pervasive that it limits or denies a person’s ability to participate in or benefit from the recipient’s

education program or activity.”19 Because “misgendering” could, under this broad standard,

constitute hostile environment harassment, teachers will “assume they should use subjective

gender terms to avoid discipline under the Final Rule.” Texas v. United States, 740 F. Supp. 3d at

551.



15
   See Mem. Op. & Order 4–11, ECF No. 43.
16
   Pl.’s Br. 25–31, ECF No. 59.
17
   34 C.F.R. § 106.2 (2024).
18
   Defs.’ Br. 24–27, ECF No. 65.
19
   34 C.F.R. § 106.2 (2024) (emphasis added).

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       As a consequence, recipients of Title IX funds, including teachers, are forced “to be an

instrument for fostering public adherence to an ideological point of view [they] find[]

unacceptable.” Wooley v. Maynard, 430 U.S. 705, 715 (1977). The Final Rule functionally turns

recipients of federal funds into federally commandeered censors of speech, forcing schools to

require engagement in or, at a minimum, to prohibit certain kinds of speech, which in turn represses

what has long been regarded as protected forms of expression and religious exercise. Therefore,

the Final Rule violates the protections of the First Amendment.

       C. Vacatur of the Final Rule is the appropriate remedy.

       Having ruled in favor of Carroll ISD on the merits, the Court turns to the proper remedy.

Carroll ISD requests that the Court vacate the Final Rule in its entirety.20 In response, Defendants

argue that the Court should not vacate the Final Rule, as there are more limited remedies that would

redress Carroll ISD’s injuries.21

       The proper remedy upon determining that an agency failed to comply with the APA is

vacatur of the unlawful agency action. 5 U.S.C. § 706(2). Although Defendants are correct that the

APA does not require such a remedy,22 the Fifth Circuit considers vacatur the default remedy for

agency action otherwise found to be unlawful. Data Mktg. P’ship, LP v. U.S. Dep’t of Labor, 45

F.4th 846, 859–60 (5th Cir. 2022); accord Franciscan All., Inc. v. Becerra, 47 F.4th 368, 374–75,

375 n.29 (5th Cir. 2022) (concluding that “[v]acatur is the only statutorily prescribed remedy for a

successful APA challenge to a regulation”) (emphasis added)). The D.C. Circuit agrees. United

Steel v. Mine Safety & Health Admin., 925 F.3d 1279, 1287 (D.C. Cir. 2019) (“The ordinary

practice is to vacate unlawful agency action. . . . In rare cases, however, we do not vacate the action



20
   Pl.s’ Br. 32–35, ECF No. 59.
21
   Defs.’ Br. 37–50, ECF No. 65.
22
   Id. at 38.

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but instead remand for the agency to correct its errors.”). Whether remand-without-vacatur is the

appropriate remedy “turns on two factors: (1) the seriousness of the deficiencies of the action, that

is, how likely it is the agency will be able to justify its decision on remand; and (2) the disruptive

consequences of vacatur.” Id. (cleaned up).

        In this case, vacatur is appropriate given the Court’s conclusion that Defendants’ adoption

of the Final Rule violates the APA and the First Amendment. Defendants will not be able to

substantiate the Final Rule on remand because there is no possibility that it could correct the

fundamental substantive errors. Moreover, vacating this unlawful assertion of Defendants’

authority would be minimally disruptive because vacatur simply “establish[es] the status quo” that

existed for decades prior to the Final Rule going into effect last year. Texas v. United States, 40

F.4th 205, 220 (5th Cir. 2022).

        “Because vacatur is the default remedy . . . defendants bear the burden to prove that vacatur

is unnecessary.” Tex. Med. Ass’n v. U.S. Dep’t of Health & Hum. Servs., No. 6:23-cv-59-JDK,

2023 WL 4977746, at *13 (E.D. Tex. Aug. 3, 2023) (citation omitted). Because Defendants fail to

show that this is an exceptional case in which the Court should deviate from the default

presumption, the Court VACATES the Final Rule.

   V.      CONCLUSION

        For the reasons set out above, the Court GRANTS Carroll ISD’s Motion for Summary

Judgment, DENIES Defendants’ Cross-Motion, and VACATES the Final Rule.

        SO ORDERED on this 19th day of February, 2025.


                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE



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